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         pO 1 9 9 ( R c r 3x7) Order Sellcng Conditions of Relcare                                                                               Pages
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                                 Wniteb Qtatee' Pie'tritt Court
                            z5km2d                                        DISTRICT OF


                                                                                                     .!AN 1 7 '1006
                     UNITED STATES O F AMERICA                                               c:,~!::;; :1 *j. i):yi:t::;-r C ~ U R T
                                                                                        EAflr{:lj           <:ICY Oi: CALiFORNlA

                                        V                                             -9(                         L
                                                                                                                                        ITIONS
                                                                                                          OF RELEASE



                                  Defendant


                 IT IS ORDERED that the release of thc defendant is sul>jectto the follow~ngconditions:

                     ( I ) The defendant shall not c o n ~ ~ nany
                                                               i t utfense in violation of federal, stare or local law while on release in this
                            case.

                     (2) The defendant shall immediately advise the court. defense counsel and the U.S. attorney in writing of ail)'
                         chanre in address and telephone number.

                     (31 Tlie defendant shall appear at all proceedings as required and shall surrender for service of any sentence

                         impl~scdas directed. The defendant shall next appear at (if blank, to he notified              f i &,-fQ~r'c
                                                                                             a-/?-66 o r 10.rm&r-
                                                                                                    Dare and T ~ m c
                                                                                                                                       lace




                                         Release on Personal Recognizance or Unsecured Bond
                 IT IS FURTHER ORDERED that the defendant he released provided that:

          (          14) The defendant promiscs lo appear at a11 proceedings as required and to surrender for service of any sentence
                         imposed.

         (       J   ( 5 ) The defendant executcs an uusecured hond hind~ngthe defendant to pay the Un~tedStales thc sum of
                                                                                                     dollars ($
                         in the e\cnt o f 3 failure to appear as required or to surrender as directed for service of any sentence imposed.




WHITE COPY - C O U R T         YELLOW       DEFENDANT                BLUE - U S . ATTORNEY        PINK - U S . MARSHAL            GREEN - PRETRIAL SERVICES
                   Case 1:04-cr-05327-AWI Document 363 Filed 01/17/06 Page 2 of 3
d ~ ~ ~ l b o - ~ h aJose
                      vez,    ADDITIONAL CONDITIONS OF RELEASE
 04-5327 AWI

         Upon findingthat release by one oftheabove methods will not by itself reasonably assure theappearanceofthedefendant
and the safety of other persons and the community, it is FURTHER ORDERED that the release of the defendant is subject to the
conditions marked below:

(1)       (6)        The defendant is placed in the custody of:

                     Name of person or organization Mariacruz and Roberto Ochoa

who agrees (a) to supervise the defendant in accordance with all conditions of release,
(b) to use every effort to assure the appearance of the defendant at all scheduled court proceedings, and (c) to notify the court
immediately in the event the fendant violates any conditions of release or disappears.
                                   /?o4eC7Toc - + - k
                     SIGNED: /tl@4[d r w    CL,94c            6
                                 CUSTODIAN OR PROXY

(XI       i7)        The defendant shall:
          (X)        (8)       maintain or activelv seek emplovment. and ~ r o v i d eroof thereof to the PSO upon request
          ( j        (b)       maintain or commence an educational program.
          1x1        tC)       . ~ h i J cb\ the ri,.loulne rcslrzlton.; ~ I I Ihl.; penan31 $.,,,cial~,,ns. p.auc ,,iab,,Jc ,,r lr3b~1
                               KeciJc 31 a rc..Jcnrc apprwcJ b\ I'rclrul bcr\~ccs.anJ no1 m m c ,,r be ~ b i u n frtm           l    t h ~ sr:.;~Jcncr. filr mtlrc l l 1 3 m
                               ~r.lhoulprior a r o r o \ ~ dI I ' S 0 ; lra\cI rc\trictcJ 1,) K ~ n g s3nJ l:rc\nu (;~unt~c\.unlcs, oth:ru~se a o ~ r t ~ \ in
                               -                                                                                                                                 c JaJ\>nir. b!
                                -
                               PSO.
                               &all           contact with the following named persons, who are considered either alleged victims or potential witnesses:
          (X)        (d)
                               any named codefendants in the instant Indictment and Supersedlng Indictment or any named defendant in doeket no.
                               04CR5328. unless in the Dresenee of counsel or otherwise approved in advance by the PSO.
          1x1        tC1       r c . ~ , ~onn J rc.eul3r ~ J F I Sto the f o a o n ~ n raccnc\
                                                                                        :
                               I'rtlr~slhtnl.u> and uonlp., \ \ ~ t hthctr rules anJ rczulallon\.
                               comply with the following curfew:
                               refrain from possessing a firearm, destruetive deviee, or other dangerous weapon.
                               refrainfrom excessiveuse ofaleohol, and any use or unlawful possessionofanarcoticdmgand other controlled subsranees
                               defined in 21 USC $802 unless prescribed by a licensed medical practitioner.
                               undergo medieal or psychiatric treatment and/or remain in an institution, as follows: lnclud~ngtreatment for drug andlor
                                   ~   ~
                                                               .
                               alcohol deoendencv. and oav. for costs TB. annroved
                                                                     ~   ~~~   ~~~   ..
                               c\ccutca b m J or an ;azrccmenttu furic~rupun fai.intto 3 o ~ c or
                                                                                                  bv the PSO.
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                               f ~ ~ l l o ~ rsum
                                               . n u o f m t ~ n c \or JcsienatcJ prupcnb. $50.0(1(1 proncn, bonJ sccurcd b\ ~4u11?In prupcrtt urvncd b\ 3lmue.
                               Sandoval.
                               post with the court the following            - indicia or ownership of the above-described .property,   . . or the following       - amount or
                               pereentage of the above-described money:
                               exeeute a bail bond with solvent sureties in the amount of S
                               return to custody each (weekjday as of o'clock after being released each (weeklday as of o'clock for employment,
                               sehooling. or the following limited purpose(s):
                               surrender any passport to the Clerk, United States District Court.
                               obtain no s ass port during the ~ e n d e n e yof this case.
                               renort in 0-erso" to the ~ r e t r i a i ~ e r v i c Agency
                                                                                     es        on the first working day followine your release from custodv.
                                                -
                               submit to d m e andlor alcohol testine as directed bv PSO.
                               report any~.prescriptions to PSO within 48 hours of reeeipt.
          (1         (s)       participate in oneofthe followinghome confinement programcomponentsand abide by all the requirementsof the program
                               which (. .) will or 1, ,  ) will not inelude eleetronie monitorine       - or other loeation verification system.
                               ( j (i) Curfew. You are restricted to your residence e r e y day ( )from                                          to                   , or
                                                ( j as directed by the Pretrial Serviees oftice or supervising officer; or
                               ( ) (ii) Home Detention. You are restrieted to your residence at all times except for employment; education:
                                                 religious services; or mental health treatment; attorney visits; coun appearances; eourt-ordered obligations;
                                                 or other activities as pre-approved by the Pretrial ~ e r i i c e soffice or superrising offieer; or
                              1, , (iii)                                                                                               .
                                        \ , Home Incarceration. You are restricted to vour residence at all times exceot for medieal needs or treatment.
                                               religious services, and eourt appearances pre-approved by the Pretrial Services office or supervision officer.




(Copies to: Defendant, US Attorney, US Marshal. Pretrial Services)
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                                                Advice of Penalties and Sanctions
                EFENDANT:
\   YOU ARE ADVlSED OF THE FOLLOWING PENALTIES AND SANCTIONS:

     A violation of any of the foregoing conditions of release may result in the immediate issuance of a warrant for your arrest,
a revocation of release, an order of detention, and a prosecution for contempt of court and could result in a term of imprisonment.
a fine, or both.
                                                                                                                                                      1
     The commission of any crime while on pre-trial release may result in a n additional sentence to a term of imprisonment of
not more than ten years, if the offense is a felony; or a term of imprisonment of not more than one year, if the offense is a
misdemeanor. This sentence shall be in addition to any other sentence.
     Federal law makes it a crime punishable by up to five years of imprisonment, and a $250,000 fine or both to intimidate or
attempt to intimidate a witness, victim, juror, informant or officer of the court, or to obstruct a criminal investigation. It is also
a crime punishable by up to ten years of imprisonment, a $250,000 fine or both, to tamper with a witness, victim or informant.
or to retaliate against a witness, victim or informant, or to threaten or attempt to do so.
     If after release, you knowingly fail to appear as required by the conditions of release, or to surrender for the service of sentence,
you may be prosecuted for failing to appear or surrender and additional punishment may be imposed. If you are convicted of:
     (1) a n offense punishable by death, life imprisonment, or imprisonment for a term of fifteen years or more, you shall be
          fined not more than $250,000 or imprisoned for not more than ten years, or both;
     (2) an offense punishable by imprisonment for a term of five years or more, but less than fifteen years, you shall be fined
          not more than $250,000 or imprisoned for not more than five years, or both;
     (3) any other felony, you shall be fined not more than $250,000 or imprisoned not more than two years, or both;
     (4) a misdemeanor, you shall be fined not more than $100,000 or imprisoned not more than one year, or both.
    A term of imprisonment imposed for failure to appear or surrender shall be in addition to the sentence for any other offense.
In addition, a failure to appear may result in the forfeiture of any bond posted.

                                                 Acknowledgement of Defendant
    I acknowledge that I am the defendant in this case and that I am aware of the conditions of release. I promise to obey all
                                                                                                                                                      I
conditions of release, to appear as directed, and to surrender for service o f any sentence imposed. I am aware of the penalties
and sanctions set forth above.




                                                                                                             Address                                  I

                                                                                 City and State                                   Telephone




                                             Directions to United States Marshal                                                                      I

(   he    defendant is ORDERED released after processing.
    ) The United States marshal is ORDERED to keep the defendant i
(
      thedefendant has posted bond and/or complied with all other co
      the appropriatg.judic+l officer at the time and place specified
                                                                                    \
                                                                                -gnatwe                          of Judicial d d e r


                                                                                            Name and Title of Judicial Officer




WHlTE COPY   COURT          YELLOW. DEFENDANT             BLUE U S . ATTORNEY             PINK . U S . MARSHAL             OREEN. PRETRIAL SERVICES
